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IN THE UNITED STATES DISTRICT COURT ‘ L,(
FOR THE NORTHERN DISTRICT OF FLORIDA ' th
PANAMA CITY DIVISION .. .: c;;;
““' ‘i':§
SUNCOAST ENVIRONMENTAL ':` L""

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INTERNATIONAL, lNC. and
RONALD A. McNEIL,

Plaintiffs,
v.

CIV[L ACTION

FILE NO. 5:04-CV-68-SPM/AK
PARADISE ENVIRONMENTAL

SERVICES, INC. and PARADISE
ENVIRONMENTAL SERVICES
EAST, INC.,

\'/\'/\'/\/\d`/`/\_/V\/V\/\_/\/

Defendants.

()RDER DISMISSING CERTAIN CLAIMS PURSUANT TO
FED.R.CIV.P. 41(A)(2) AS MUTUALLY REOUESTED
BY PLAINTIFFS AND DEFENDANTS

This matter having come before the Court on the Joint Motion for Dismissal Pursuant to
Fed.R.Civ.P. 41(a)(2) and for Entry of a Permanent Injunction filed by SunCoast Environmental
International, Inc. and Ronald A. McNeil (collectively referred to as “Plaintiffs”), and Paradise
Environmental Services, lnc. and Paradise Environmental Services East, Inc. (collectively
referred to as “Defendants”), the Court having considered same and having been advised that the
parties mutually agree to the entry of this Order subject to the terms of the confidential
settlement agreement entered into by and between the parties, it is hereby

ORDERED as follows:

(l) Pursuant to Fed.R.Civ.P. 4l(a)(2), the following claims are dismissed with

prejudice:

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(a) All of Plaintiffs’ claims made against the Defendants in the above-styled
action, except those concerning infringement of U.S. Patents Nos.
5,265,981, 5,490,744, and 5,915,886 (the “McNeil Patents”);
(b) All of the Defendants’ claims and/or counterclaims, if any, asserted
against Plaintiffs in the above-styled action,
(2) Pursuant to Fed.R.Civ.P.41(a)(2), the following claims are dismissed without
prejudice:
(a) Plaintiffs' claims made against the Defendants for infringement of the
McNeil Patents.
The Court further orders that it expressly retains jurisdiction for purposes of enforcing the
Settlement Agreement and the Permanent Injunction consented to by Paradise and Paradise East.

DoNE AND oRDERED, this ’<) day OfJune, 2005.

   

’THE H ORABLE STEPHAN P. MICKLE
JUDGE, UNlTED STATES DISTRICT COURT

     

